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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,                   )
    Plaintiff,                              )
                                            )                 No. 1:00-cr-01008-NRB
                                            )
             v.                             )           Judge Naomi Reice Buchwald
                                            )
XAVIER WILLIAMS                             )
   Defendant.                               )



                       MOTION TO APPEAR PRO HAC VICE

       Attorney MIANGEL CODY of TDC Law Office (“Movant”) moves to appear in

this case pro hac vice, as counsel for Defendant XAVIER WILLIAMS. This motion is brought

pursuant to Local Rule 1.3. In support of this motion, Movant states as follows:

       1.    Movant is an attorney licensed to practice law and is a member of good

standing of the state bar in the State of Illinois (Bar No. 6289243). A certificate of good

standing is listed in Attachment A to the instant filing.

       2.    Movant is familiar with federal criminal practice. She is admitted to practice

before, and is in good standing, with the United States District Courts and Courts of

Appeals listed in Attachment A to the instant filing.

       3.    Movant certifies that she will make herself familiar with and shall be governed

by the local rules of this Court, the rules of professional conduct, and all other requirements
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governing the Southern District of New York.

       4.     Movant certifies that she has never been convicted of a felony.

       5.     Movant certifies that she has never been disciplined, sanctioned or disbarred,

denied admission or readmission by any court, and is not currently suspended from the

practice of law in the State of Illinois or any other state, nor from any Bankruptcy Court,

District Court, or Court of Appeals.

       6.     Movant certifies that there are presently no disciplinary proceedings concerning

the Movant.

       WHEREFORE, Movant respectfully requests entry of an order authorizing her

admission to appear pro hac vice.




                                                                     /s/ MiAngel Cody, Esq.
                                                      Attorney Bar Number: (Illinois) 6289243
                                                        Retained Attorney for Xaiver Williams
                                                                         TDC LAW OFFICE
                                                                 1325 S. Wabash Ave. Ste. 305
                                                                           Chicago, IL 60605
                                                                           Tel: 312-858-8330
                                                                           Fax: 312-626-4823
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                        CERTIFICATE OF SERVICE


The undersigned, MiAngel Cody, an attorney with The Decarceration Collective, hereby
certifies that on December 16, 2021 I electronically filed the following using the CM/ECF
system:


                     MOTION TO APPEAR PRO HAC VICE

                                                               /s/ MiAngel Cody, Esq.
                                                 Attorney Bar Number: (Illinois) 6289243
                                                                   TDC LAW OFFICE
                                                           1325 S. Wabash Ave. Ste. 305
                                                                    Chicago, IL 60605
                                                                    Tel: 312-858-8330
                                                                    Fax: 312-626-4823

                                                                 Counsel for Xavier Williams
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                                                   ATTACHMENT A

                                              List of Federal Bar Admissions
                                                for Attorney MiAngel Cody

I am admitted to practice in the following federal district courts:

         United States District Court for the Northern District of Illinois
         United States District Court for the Central District of Illinois
         United States District Court for the District of Columbia
         United States District Court for the Northern District of Indiana
         United States District Court for the Southern District of Indiana
         United States District Court for the Eastern District of Missouri
         United States District Court for the Eastern District of Michigan
         United States District Court for the Eastern District of Wisconsin
         United States District Court for the Western District of Wisconsin

I am admitted to practice in the following Courts of Appeals:

         United States Court of   Appeals for the First Circuit
         United States Court of   Appeals for the Second Circuit
         United States Court of   Appeals for the Sixth Circuit
         United States Court of   Appeals for the Seventh Circuit
         United States Court of   Appeals for the Eighth Circuit
         United States Court of   Appeals for the Eleventh Circuit

I am admitted to the United States Supreme Court (admission date: 09/11/2020; Bar # 313422)
I served as a federal law clerk to the Honorable Myron H. Thompson (M.D. AL) from 2004 to 2005.
I served as a federal law clerk to the Honorable Ann Claire Williams (7 Cir. COA) from 2005 to 2006.
I served as an Assistant Federal Defender in the Northern District of Illinois from 2008 to 2017.

Sincerely,




Illinois State Bar No. 6289243
I am a member in good standing of the Illinois state bar. I have never been disciplined or suspended from any
bar. I am not presently subject to any bar disciplinary action.
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